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                UNITED STATES BANKRUPTCY COURT
                 NORTHERN DISTRICT OF FLORIDA
                       PENSACOLA DIVISION


IN RE:                                    CASE NO: 18-30400-KKS
                                          CHAPTER 7
JAMES MICHAEL FREELAND III,

     Debtor(s),
_____________________________________/

               ORDER GRANTING MOTION TO SELL
            REAL PROPERTY FREE AND CLEAR OF LIENS,
             ENCUMBRANCES AND INTERESTS (Doc. 40)

      UPON CONSIDERATION of the Motion to Sell Real Property

Free and Clear of Liens, Encumbrances and Interests (Doc. 40),

Trustee filing her Notice of Intent to Sell Property of the Estate (Doc.

39) with a twenty-one day negative notice, there being no opposition

filed or asserted thereto, the Court considers the matter unopposed.

The Court having determined that the relief sought in the Motion should

be granted and as further evidenced by the Notice of Intent to Sell Real

Property of the Estate, it is,

      ORDERED, as follows:

       1.     The Motion is GRANTED and the Notice of Intent to Sell

is APPROVED.


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      2.     The Trustee is authorized to sell the Property, located at

7051 Country Oaks Court, Irvington, AL 38544, identified as Mobile

County Parcel ID No. 02-38-09-29-0-000-005.10and described as:

      Lot 9, Country Oaks, according to plat thereof as recorded Map
      Book 32, Page 77, in the records in the Office of the Judge of
      Probate, Mobile County, Alabama


free and clear of all liens, encumbrances, or interests of any party,

including that of MortgageAmerica, Inc., pursuant to those terms

identified in the Notice of Intent to Sell, for the price of $68,300.00 to

the current purchaser; and it is further

      3.     The Trustee is authorized to take any and all actions and

to execute any and all documents necessary and appropriate to

effectuate and consummate the terms of said sale of the Property free

and clear of all liens, encumbrances, or interests, including without

limitation, executing a deed conveying the interests of the Debtor(s),

or any other party claiming an interest in the Property, to the current

purchaser.

      4.     The Trustee is authorized to pay certain expenses from the

proceeds of the sale and that the proceeds shall be disbursed in the

following manner:

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            a. Payoff to First Mortgage Holder, MortgageAmerica

               estimated to be $61,988.97.

            b. Payoff         to      Second        Mortgage            Holder,

               MortgageAmerica estimated to be $1,316.86.

            c. Brokerage Fees (6% of the sales price) - $4,098.00

            d. Property taxes for 2019 - $423.90

            e. Owner’s title insurance - $423.00

            f. Wire Fees (2) - $40.00

            g. The Estate will receive a buyer’s premium estimated

               to be $5,000.00.

     5.     The Trustee upon execution and closing of the sale, shall

deposit the buyer’s premium into the estate to be administered by the

Trustee on behalf of the unsecured creditors in accordance with

Bankruptcy procedure.

                          Sept. 24, 2019
     DONE AND ORDERED on _______________.




                                        ___________________________
                                        Karen K. Specie
                                        Chief U.S. Bankruptcy Judge




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Order Prepared by:
Mary W. Colón, Esq.

Trustee Mary Colón is directed to serve a copy of this order on
interested parties and file a proof of service within three (3) days of
entry of the order.




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